          Case 1:22-cv-07529-LGS Document 11 Filed 09/15/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

 SISTERS OF LIFE,
                                                       Case No. 1:22-cv-07529-LDS
         Plaintiff,

    v.

 MARY T. BASSETT, Commissioner of the
 New York State Department of Health,
 in her official capacity,

         Defendant.

                      MOTION FOR ADMISSION PRO HAC VICE

         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, I, Mark L. Rienzi, move this Court for

an Order for admission to practice Pro Hac Vice to appear as counsel in the above-

captioned action for the Plaintiff, Sisters of Life.

         I am a member in good standing of the bar of the District of Columbia and

there are no pending disciplinary proceedings against me in any state or federal court.

I have never been convicted of a felony. I have never been censured, suspended,

disbarred, or denied admission or readmission by any court. I have attached the

affidavit pursuant to Local Rule 1.3.
         Case 1:22-cv-07529-LGS Document 11 Filed 09/15/22 Page 2 of 2




Dated:       September 14, 2022       Respectfully submitted,

                                       /s/ Mark L. Rienzi
                                       Mark L. Rienzi
                                         D.C. Bar No. 494336
                                       The Becket Fund for Religious Liberty
                                       1919 Pennsylvania Ave, N.W.
                                         Suite 400
                                       Washington, DC 20006
                                       (202) 955-0095




                      CERTIFICATE OF CONFERENCE

      Pursuant to Rule III.C.1 of this Court’s Individual Rules and Procedures for

Civil Cases, I hereby certify that co-counsel Rebekah P. Ricketts of the Becket Fund

for Religious Liberty attempted to confer with Defendant and Kathy Marks, General

Counsel for the New York State Department of Health, via email sent on September

13, 2022, at 7:52 AM. She has not received a response.

                                       /s/ Mark L. Rienzi
                                       Mark L. Rienzi

                          CERTIFICATE OF SERVICE

      I certify that, pursuant to Rule 9.2 of the Electronic Case Filing Rules &

Instructions for the United States District Court for the Southern District of New

York, I have served a paper copy of this motion and all accompanying documents on

Defendant via standard overnight delivery.

                                       /s/ Mark L. Rienzi
                                       Mark L. Rienzi
